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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND

CRAIG WINKEY                                          :
                                                      :
        v.                                            : CIVIL NO. CCB-11-2017
                                                      : Criminal No. CCB-06-0207
UNITED STATES OF AMERICA                              :
                                                  ...o0o...

                                            MEMORANDUM

        Federal prison inmate Craig Winkey has filed a motion under 28 U.S.C. § 2255 to vacate the 140-

month sentence imposed by this court on August 13, 2010 following his guilty plea to conspiracy to

distribute more than 50 grams of cocaine. Winkey claims that his experienced defense counsel, Kenneth

W. Ravenell, was ineffective in not advising him to note an appeal and that Assistant U.S. Attorney Debra

L. Dwyer violated the plea agreement. Neither argument has any merit.

        Mr. Ravenell in fact negotiated a favorable plea agreement for his client, with an agreed

disposition of 188 months despite Winkey’s career offender status, which indicated a range of 262 to 327

months. AUSA Dwyer agreed to this more reasonable sentence in the plea agreement and also agreed

that Winkey could request resentencing if the Fair Sentencing Act of 2010 was in fact passed. By the

time of sentencing, the Fair Sentencing Act had been passed. Whether it applied retroactively had not

been decided. Mr. Ravenell nonetheless was permitted to argue for a lower sentence and the court

imposed a sentence of 140 months, taking into account that the crack cocaine guidelines had been

lowered.

        In short, there was no basis to appeal, the government did not violate the plea agreement, and Mr.

Ravenell provided excellent, rather than ineffective, representation.

        A separate Order denying the motion to vacate follows.

January 30, 2012                                                          /s/
Date                                                      Catherine C. Blake
                                                          United States District Judge
